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                  IN TIIE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
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                             BILLINGS DIVISION
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UNITED STATES OF AMERICA,                        Cause No. CR 04-87-BLG~~~,,,~01.1,,
                                                           CV 14-76-BLG-SPW
             Plaintiff/Respondent,

      vs.                                      ORDER DENYING MOTION AND
                                                DENYING CERTIFICATE OF
RONALD E. SMITH,                                     APPEALABILITY

             Defendant/Movant.


      On June 12, 2014, Defendant Ronald E. Smith filed a motion to vacate, set

aside, or correct his sentence under 28 U.S.C. § 2255. Smith is a federal prisoner

proceeding with Robert L. Stephens as counsel.

      An Amended Judgment was entered in this matter on September 25, 2009.

On February 5, 2013, Smith filed a motion under§ 2255 in a collateral attack

against that judgment. Mot. § 2255 (Doc. 805). He sought credit for time served.

On the grounds that he is not entitled to that credit, the motion and a certificate of

appealability were denied on April 17, 2013. Order (Doc. 809). Smith did not

appeal.

      The Court of Appeals has not authorized Smith to file a second § 2255

motion in this Court. See 28 U.S.C. § 2255(h). The motion must be dismissed for

lack of jurisdiction. Burton v. Stewart, 549 U.S. 147, 149 (2007) (per curiam).

      The Court notes that, in addition to his first motion under 28 U.S.C. § 2255,
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Smith has filed other motions to attempt to obtain the credit he believes to be due

for time served. Each motion has been denied. See Mot. to Am. Judgment (Doc.

779); Order (Doc. 780); Mot. for Reconsideration (Doc. 800); Order (Doc. 801);

Mot. to Enforce Judgment (Doc. 817); Order (Doc. 818). Finally, Alleyne v. United

States, _ U.S. _, 133 S. Ct. 2151 (2013 ), does not apply to Smith's case. The

minimum and maximum statutory penalties were set by Smith's guilty plea. The

findings made at sentencing "affected neither the statutory maximum sentence nor

any mandatory minimum sentence; thus, neither Apprendi nor Alleyne v. United

States is implicated." United States v. Vallejos, 742 F.3d 902, 906-07 (9th Cir.

2014) (citing Alleyne, 133 S. Ct. at 2163, and Apprendi v. New Jersey, 530 U.S.

466, 490 (2000)).

      A certificate of appealability is denied because disposition of the motion is

clearly controlled by Burton. Gonzalez v. Thaler,_ U.S._, 132 S. Ct. 641, 648

(2012) (quoting Slackv. McDaniel, 529 U.S. 473, 484 (2000)). Further, Smith

makes no showing that he has been deprived of a constitutional right. 28 U.S.C. §

2253( c)(2).


      Accordingly, IT IS HEREBY ORDERED as follows:

       1. Smith's § 2255 motion (Doc. 833) is DISMISSED for lack of jurisdiction.

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Smith files a Notice of Appeal;
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      3. The Clerk of Court shall ensure that all pending motions in this case and

in CV 14-76-BLG-SPW are terminated and shall close the civil file by entering a

judgment of dismissal.

      DATEDthis •   /{~ofJune,2014 .

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                                     ' Susan P. Watters
                                      United States District Court




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